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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS




D.V.D.; M.M.; E.F.D.; and O.C.G.,
               Plaintiffs,
                   v.                                     Case No. 25-cv-10676-BEM
U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,
               Defendants.




                  UNOPPOSED MOTION FOR REMOTE APPEARANCE

       Plaintiffs respectfully request that this Court permit two of their counsel, Anwen Hughes

and Mary Kenney, to appear remotely by video link for the status conference scheduled on

Monday, April 28, 2025, at 11:00 AM. Counsel for Defendants do not oppose this request.

       Undersigned counsel is unable to appear in person in Boston on April 28 because her

organization is moving into a new office in New York that morning and needs all staff on hand

to unpack and set up the new space. Mary Kenney meanwhile is in Baltimore and unable to

travel to Boston for this status conference due to deadlines in another matter. For these

reasons, Plaintiffs respectfully request that the Court grant this motion permitting Anwen

Hughes and Mary Kenney to appear remotely for the status conference scheduled for April 28,

2025. Plaintiffs’ Counsel Trina Realmuto and Kristin Macleod-Ball will appear in person at

the hearing.

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Respectfully submitted,                       Dated: April 24, 2025

s/ Anwen Hughes
Anwen Hughes*
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 Kristin Macleod-Ball*                          Leila Kang*
 Mary Kenney*                                   Aaron Korthuis*
 Tomás Arango                                   Glenda M. Aldana Madrid*
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 Attorneys for Plaintiffs

 * Admitted pro hac vice


                                   CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     s/ Anwen Hughes
                                                     Anwen Hughes
                                                     Human Rights First
Dated: April 24, 2025



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